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                          UNITED STATESDISTRICTCOURT
                          EASTERNDISTRICTOF LOUISIANA

JONAHBASCLE,
an individual,                                    CASENO.:

             Plaintift
                                                  Judge:
vs.

MCDONALDSCORPORATION                              Magistrate:
a DelawareCorporation,

             Defendant.
                                ------------x

                                      COMPLAINT

      plaintiff, JONAH BASCLE, by and throughhis undersignedcounsel,herebyfiles this

                                                                         and
ComplaintandsuesMCDONALDS CORPORATION,aDelawareCorporation,for declaratory

injunctiverelief, attorneys'fees,and costspursuantto the Americanswith DisabilitiesAct, 42

                    andalleges:
U.S.C.$ l2l8l et s€Q.,

                            JURISDICTION AND PARTIES

l.    This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the Americans

                                                             referredto asthe"ADA"). This
       With DisabilitiesAct, 42U.S.C.$ 12l8l etseq.(hereinafter

       Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C.SS1331and 1343.

2.     Venueis properin this Courtpursuant
                                         to 28 U.S.C.$1391(b).

3.     plaintiff,JONAHBASCLE,(hereinafter
                                       referredto as"MR. BASCLE"oT"PLAINTIFF"),

       is a residentof OrleansParish,Louisiana.
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4.      MR. BASCLE is a qualifiedindividualwith a disabilityunderthe ADA. MR. BASCLEis

        afflicted with muscular distrophy.

5.      Due to his disability, PLAINTIFF is substantiallyimpaired in severalmajor life activities and

        requiresa wheelchairor for mobility.

6.      Upon informationandbelief, DefendantMCDONALDS CORPORATIONis a Delaware

        Corporation,registeredto do businessin the Stateof Louisiana(hereinafterreferredto as

        "DEFENDANT"). DEFENDANT is the owner,lessee,lessorand/oroperatorof the real

        propertiesand improvementswhich is the subjectof this action, to wit: McDonald's,

        generallylocatedat3321St.CharlesAvenue,NewOrleans,LA70ll5. TheDEFENDANT

        is obligatedto complywith the ADA.

7.      All eventsgiving rise to this lawsuitoccurredin the EasternDistrict of Louisiana,Orleans

        Parish,Louisiana.


                       COUNT I - VIOLATION OF TITLE III OF THE
                           AMERICAI\S WITH DISABILITIES ACT

 8.                                          1 - 7 asif theywereexpresslyrestatedherein.
        PLAINTIFFreallegesandreaversParagraphs

 9.                                                 subjectto the ADA, generallylocatedat
        ThePropertyis a placeof public accornmodation,

                                         LA 70115.
         3321St.CharlesAvenue,New Orleans,

 10.     MR. BASCLEhasvisitedthePropertynumeroustimesandplansto visit thePropertyagain

         in the nearfuture.

 I l.    Duringthesevisits, MR. BASCLE experienced                         the goodsand
                                                 seriousdifficulty accessing

                                                                              in pamgraph14of
         utilizing the servicesthereindueto thearchitecturalbarriersasdiscussed
                                                 2
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      this Complaint.

12.   MR. BASCLE continuesto desireto visit the Propetry,but continuesto experienceserious

                                          in Paragraph14which still exist.
      difticulty dueto the baniersdiscussed

13.   MR. BASCLE intendsto andwill visit the Properfyto utilize the goodsandservicesin the

      future,but fearsthat shewill encounterthe samebariers to accesswhich arethe subjectsof

      this action.

14.   DEFENDANTis inviolationof 42U.S.C.$ 12181etseq.and28C.F.R.$ 36.302etseq.and

      is discriminatingagainstPLAINTIFF due to, but not limited to the follo*ing violations

                                                        which hinderedhis access:
      which PLAINTIFF personallyobservedand/orencountered

             A.      Thereis an insufficientnumberof disabledparkingspaces;

             B.                   parkingspacesareimproperlydispersedandmarkedandare
                     The accessible

                                                        routeof travel;
                     not locatedon the shortestaccessible

              C.     The signsdesignatingdisabledusespacesareimproperlyposted;

              E.                                  routefrom the parkingareasto the facility;
                     Thereis no compliantaccessible

              F.                                  routefrom the streetto the facility;
                     Thereis no compliantaccessible

              G.                                 seating;
                     Thereis no disabledaccessible

              H.     There are rirmpsat the facility that do not have handrails,level landings

                     and/orcontainexcessiveslopes;and

              I.     The restroomsin the facility arenon-compliant.

15.    Furthermore,DEFENDAI{T continuesto discriminateagainstPLAINTIFF, and others

       similarly situated,by failing to make reasonablemodificationsin policies,practicesor

       procedures,when such modificationsare necessaryto provide PLAINTIFF an equal
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      opporrunityto participatein, or benefit from, the goods,services,facilities, privileges,

                               whichDEFENDANToffersto the generalpublic;andby
               andaccommodations
      advantages,

                                               to ensurethatno individualwith a disability
      failingto takesucheffortsthatmaybenecessary

      is excluded, denied services,segregated,or otherwisetreated differently than other

      individuals becauseof the absenceof auxiliaryaidsandservices.

16.   To date,all barriersto accessandADA violationsstill existandhavenot beenremediedor

      alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

      thoughremovalis readilyachievable.

17.   Removal of the discriminatorybarriers to accesslocated on the Property is readily

                                                          and would not placean undue
      achievable,reasonablyfeasible,and easilyaccomplished,

      burdenon DEFENDANT.

19.   Removalof the barriersto accesslocatedon the Properlrywould providePLAINTIFF an

      equalopportunitytoparticipatein, orbenefitfrom,thegoods,services,andaccommodations

      which DEFENDANT offersto the generalpublic.

20.    Independentof his intent to return as a patronto the Property,PLAINTIFF additionally

       intendsto returnasan ADA testerto determinewhetherthe barriersto accessstatedherein

       havebeenremedied.

21.    PLAINTIFF has been obligatedto retain the undersignedcounselfor the filing and

       prosecutionof this action. PLAINTIFF is entitledto havehis reasonableattorneys'fees,

                       paidby DEFENDANT,pursuantto 42 U.S.C.$ 12205.
       costs,andexpenses

       WHEREFORE,pLAINTIFF demandsjudgmentagainstDEFENDANT, andrequeststhe

following injunctiveanddeclaratoryrelief:


                                              4
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     That this Court Declare that the Properly owned, leased and/or oprated by

     DEFENDANITis in violation of the ADA;

B.   That this Court enteran OrderdirectingDEFENDAIIT to alter the facility to make

     it accessibleto anduseableby individualswith disabilitiesto the full extentrequired

     by Title Itr of the ADA;

C.   Thatthis Cogrt enteranOrderdirectingDEFENDAIIT to evaltrateandneutalize its

     policies,prrctices,andprocedurestowardspersonswith disabilitiesfor areasonable

     amogntof time, allowing implementationandcompletionof correctiveprocedures;

D.   That this Court awardreasonableattorneys'fffis, costs(including expertfees),and

                   of suit, to PLAINTIFF; and
     other experures

E.                                                                        just and
     That this Court awardsuchother and finther relief as it deemsnecessary,

     proper.

                                                      Submitted,
                                           Respectfully

                                           THEBIZERLAW FIRM
                                           Attorneysfor Plaintiff
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